Exhibit G

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

DERON MCCOY II, #76894 )
)
Plaintiff, )
) Case No. 21-CV-03269-SAC
V. )
)
ARAMARK, et al )
)
Defendants. )

 

DECLARATION OF RABBI BEN FRIEDMAN

Comes now, Rabbi Ben Friedman and declares under the penalty of perjury as follows:

1.

I am an ordained Rabbi and I provide consultation to the Kansas Department of
Corrections (KDOC) as a rabbinical authority. I have been contracted with KDOC since
2006. I provide consultation with the KDOC with regard to Jewish religious dietary
requirements. I also consult with and provide advice to the KDOC regarding
requirements for foods and food production. I personally observe Jewish Kosher dietary
law. I studied and was ordained at the Rabbinical College of America and have been a
practicing Rabbi since July 1973.

As part of contracting with the KDOC, I may be involved in ongoing compliance and
monitoring of issues relating to the Certified Religious Diet, referred to as CRD, as
requested by KDOC. On periodic occasions, I may be asked to inspect the kitchens
within KDOC facilities, to monitor the administration of CRD in the kitchens, review
policies, procedures and food labels, and kitchen operations, and to give advice to the
KDOC and Aramark management, as may be required on how to comply with Jewish

dietary laws.
 

. lam familiar with KDOC’s CRD program having inspected the kitchen at EDCF. I have

reviewed the procedures, menus, and food labels for all items on the CRD program.

. The CRD provides a completely acceptable menu for residents wishing to observe Jewish

dietary laws, also referred to as keeping kosher. It is completely permissible for residents

wishing to meet strict Kosher laws under Orthodox Judaism.

. Iam familiar with the requirements for maintaining a Kosher kitchen, including the

requirements of keeping all Kosher items separate and apparat form non-Kosher items.
This includes separation in storage, handling, preparation, and food service. I have

consulted with KDOC

. My work with KDOC includes ongoing compliance review and monitoring of Aramark’s

administration of the Certified Religious Diet (CRD). This work may include monitoring
kitchen operations; reviewing policies, procedures, and food labels; and providing advice

to KDOC and Aramark on how to comply with Jewish dietary law.

. Itis completely permissible for residents wishing to observe Jewish dietary laws to eat all

the items on the menu, including residents wishing to meet strict Kosher laws under

Orthodox Judaism.

. The procedures set in place by KDOC for preparation, storage, cleaning, and disposal of

CRD food, utensils and dishes are not a violation of Kosher dietary laws.

. Tam familiar with the requirements for maintaining a Kosher kitchen, including the

requirements of keeping all Kosher items separate and apart from non-Kosher items.
This includes separation in storage, handling, preparation, and food service. I have

consulted with KDOC and Aramark concerning those requirements.
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When I reviewed the EDCF kitchen for the last lawsuit, I observed that EDCF maintains
separate storage for CRD menu items. These items were stored on separate shelving
units designated exclusively for CRD foods. Bulk items are stored in warehouses in their
original packaging. It is not a violation of Kosher dietary laws for inherently Kosher
items such as fruits and vegetables to be stored in bulk and portioned out as needed,
which is the practice I observed at EDCF. This is also true of other Kosher items stored in
bulk, such as pasta, rice, and beans. It is not a violation of Kosher dietary laws to have
CRD menu items in the same room or cooler as non-CRD items.

I reviewed the food labels and certificates of items used in the CRD program. The
certificates I reviewed are attached hereto as Exhibit 1. All the items on the CRD menu
ate kosher. Many of the items used in the CRD program are shipped in bulk packaging
and maintain Kosher symbols on the shipping box itself. Other items have Kosher
markings on the individual packages or on the certificates maintained by Aramark. It is
not necessary for an individual package to bear a Kosher symbol for it to be or remain
Kosher. For example, the sliced bread and milk used in the CRD program do not have
Kosher symbols on the packaging. However, I have reviewed the sliced bread and milk
certificates and find that these items are in fact Kosher. It is not a violation of Kosher
dietary laws for these items to not have Kosher markings on the packaging.

EDCE has utilized separate CRD-designated cooking utensils. These utensils are stored
in a separate locked cabinet and are differentiated as CRD by engravings on the handles.
These utensils are cleaned separately from all others used in the kitchen and are the only
utensils used to prepare kosher meals.

The KDOC utilizes a reusable, disposable spork for service of the CRD at EDCF.
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It is not a violation of Kosher dietary laws to use the same sinks to wash CRD-
designated and non-CRD items, provided the sink is washed and sanitized between use,
It is not a violation of Kosher dietary laws for these cooking appliances to be located next
to other appliances that are used in non-CRD food preparation. The amount of separation
distance is not an issue in terms of compliance with Jewish dietary laws,

CRD meals for inmates in segregation are stacked together in a separate area of a food
warmer. For example, medical and regular menu melas are stacked on one side of the
food warmer, and CRD meals are stacked together on the opposite side of the food
warmer. It is not a violation of Kosher dietary laws for these separately stacked CRD
meals to be transported with non-CRD meals.

It is not a violation of Kosher dietary laws for CRD meals to be served on the same line
and through the same windows as non-CRD meals, provided they are plated on a separate
area of the line or are served at separate times. EDCF uses separate, CRD-designated,
areas of the serving line for the CRD program. The service of the CRD at EDCF meets
Jewish dietary requirements.

It is not a violation of Kosher dietary laws for CRD-designated and non-CRD trays to be
passed through the same tray slot after use, nor is it necessary to use separate trash bins.
Jewish holidays are often celebrated with special food and Jewish delicacies. A resident
in segregation should receive challah bread and grape juice to celebrate Holidays.

Meals including unleavened bread are provided to residents keeping Kosher for Passover.
These meals are provided to residents in segregation, as well as Jewish residents in

general population.
21. It is not a violation of Kosher dietary laws for KDOC to provide a CRD meal to residents
on Holidays.

22. Residents in segregation should be allowed to mark the Jewish Holiday Shavuot with dairy
of some form.

23. Additional food and treats are not required to adequately celebrate the Holidays.

24. There is no obligation for EDCF staff to bring in additional food, such as lox or cheesecake,

for Holidays to residents in segregation.

/s/ Rabbi Ben Friedman
Rabbi Ben Friedman
